Case 6:15-cr-00004-JDK-KNM           Document 308       Filed 09/02/15      Page 1 of 2 PageID #:
                                            750



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
                                                 §
                                                 §
  v.                                             §        CRIM ACTION 6:15-CR-4(18)
                                                 §
                                                 §
  ANDRE LAMONT WILLIAMS                          §


                    ORDER ADOPTING THE REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE


          The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

 adjudge Defendant as guilty of a lesser included charge of Count 1 of the Indictment filed in this

 cause.

          In open court at the plea hearing on August 31, 2015, the parties waived their right to

 object to the magistrate judge’s findings. The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

          ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further




                                                 1
Case 6:15-cr-00004-JDK-KNM         Document 308      Filed 09/02/15    Page 2 of 2 PageID #:
                                          751



         ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

 the. plea agreement is approved by the Court, conditioned upon a review of the presentence

 report. It is finally

         ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of a lesser included charge of Count 1 of the Indictment in the above-numbered cause

 and enters a JUDGMENT OF GUILTY against the Defendant as to a lesser included charge of

 Count 1 of the Indictment.

        SIGNED this 2nd day of September, 2015.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




                                              2
